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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

UNITED STATES OF AMERICA
                                                 No. 14 CR 674
        v.
                                                 Judge Virginia M. Kendall
ALDO BROWN

                 GOVERNMENT’S RESPONSE TO DEFENDANT
                   ALDO BROWN’S POST-TRIAL MOTIONS

        The United States of America, by ZACHARY T. FARDON, United States

Attorney for the Northern District of Illinois, respectfully submits the following

response to defendant Aldo Brown’s consolidated post-trial motions.

   I.        Background

        Defendant Aldo Brown was charged in the indictment with use of

unreasonable force (Count One), and making false statements in police reports with

the intent to impede a federal investigation (Counts Two and Three), in violation of

Title 18, United States Code, Sections 242 and 1519.

        Defendant’s jury trial began on October 19, 2015. During the course of the

trial, the government presented testimony and video evidence of defendant’s use of

force, defendant’s police reports documenting his use of force, and evidence of

defendant’s training.

        At the conclusion of the trial, on October 23, 2015, the jury found the

defendant guilty of Count One (use of unreasonable force) and not guilty of Counts

Two and Three.
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   II.      Motion for Judgment of Acquittal

         Defendant has filed a motion for a judgment of acquittal pursuant to FED. R.

CRIM. P. 29. In that motion, defendant claims that there is insufficient evidence to

support the excessive force conviction for Count One. In particular, that there was

insufficient evidence of intent. Defendant’s arguments are inconsistent with the

legal standard of review under Rule 29, with the evidence presented at trial, and

the law of excessive force. Therefore, the motion should be denied.

         Rule 29(a) provides that, “[a]fter the government closes its evidence or after

the close of all the evidence, the court on the defendant’s motion must enter a

judgment of acquittal of any offense for which the evidence is insufficient to sustain

a conviction.” Fed. R. Crim. P. 29(a). When, as here, a defendant makes a Rule

29(a) motion at the close of the government’s case, the court “must decide the

motion on the basis of the evidence at the time the ruling was reserved.” Fed. R.

Crim. P. 29(b).

         “In challenging the sufficiency of the evidence, [a defendant] bears a heavy,

indeed, nearly insurmountable, burden.” United States v. Warren, 593 F.3d 540, 546

(7th Cir. 2010); see also United States v. Torres-Chavez, 744 F.3d 988, 993 (7th Cir.

2014) (“The movant faces a nearly insurmountable hurdle”); United States v. Jones,

713 F.3d 336, 339-40 (7th Cir. 2013); United States v. Berg, 640 F.3d 239, 246 (7th

Cir. 2011); United States v. Dinga, 609 F.3d 904, 907 (7th Cir. 2010); United States v.

Morris, 576 F.3d 661, 665-66 (7th Cir. 2009). The reviewing court will view the

“evidence in the light most favorable to the prosecution,” and the defendant “‘must



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convince’ the court that, even in that light, ‘no rational trier of fact could have found

him guilty beyond a reasonable doubt.’” Warren, 593 F.3d at 546 (quoting United

States v. Moore, 572 F.3d 334, 337 (7th Cir. 2009)); see also United States v. Eller,

670 F.3d 762, 765 (7th Cir. 2012); United States v. Doody, 600 F.3d 752, 754 (7th

Cir. 2010) (stating that the inquiry is “whether evidence exists from which any

rational trier of fact could have found the essential elements of a crime beyond a

reasonable doubt”). In other words, a court will “set aside a jury’s guilty verdict only

if ‘the record contains no evidence, regardless of how it is weighed,’ from which a

jury could have returned a conviction.” United States v. Presbitero, 569 F.3d 691,

704 (7th Cir. 2009) (quoting United States v. Moses, 513 F.3d 727, 733 (7th Cir.

2008)); see also Warren, 593 F.3d at 546.

      In light of this standard, as well as the evidence presented at trial,

defendant’s motion must be denied. Specifically, the evidence at trial established

that defendant’s use of force against Victim A was unreasonable under the Fourth

Amendment, in violation of Title 18, United States Code, Section 242. First, the

video recording of defendant’s encounter with Victim A proved that defendant

viciously punched and kicked Victim A. The video depicts that defendant’s acts

were plainly intentional and directed at Victim A. The video depicts that Victim A

did not physically resist or threaten the defendant and that defendant continued to

use force on Victim A, even as Victim A laid face-down, on the ground, in handcuffs.

Moreover, the video depicts that Victim A was cooperative and responsive to the

officers’ commands, including (1) when Victim A was handcuffed and later un-



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handcuffed, (2) when Victim A unbuttoned his pants and lifted his shirt, (3) when

Victim A handed the defendant a baggie of marijuana, and (4) when Victim A lied

down on the ground, took off his earrings, and turned face-down onto the ground.

The video recording, in itself, supports the jury’s finding.

      In addition, the government presented the testimony of Victim A and other

bystanders.     The testimony of these witnesses was consistent with the video

recording and established that Victim A did not resist arrest or threaten the

defendant in any manner would warrant the force used by defendant. In addition,

the police reports prepared by the defendant describing his use of force on Victim A

also corroborate that defendant knew that his use of force had been unreasonable

and he tried to cover-up his use of force. Moreover, one of the store employees

testified that defendant later returned to the store looking for the video recording of

the incident.

      The government also presented evidence of defendant’s specific training on

the use of force and report writing.       Two instructors from the CPD Academy

testified that at the time that defendant was training, the curriculum included

training on the Fourth Amendment and limits on the use of force. Although the

witnesses did not testify regarding the legal standards under the Fourth

Amendment, they did specifically testify that this was part of the training

curriculum at the time that defendant attended the academy. Moreover, TFO Tim

Moore testified regarding CPD training records for defendant, which showed that




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CPD officers at roll call were shown training videos regarding the Fourth

Amendment and use of force.

      Accordingly, there is ample evidence to support the jury’s verdict, in

particular when viewed in the light most favorable to the government, that

defendant acted intentionally and that he knew his use of force was a violation of a

Constitutional right.

   III.   Motion for New Trial

   Federal Rule of Criminal Procedure 33 provides that, “[u]pon the defendant’s

motion, the court may vacate any judgment and grant a new trial if the interest of

justice so requires.” Motions for new trials in criminal cases are addressed to the

sound discretion of the trial court. However, it is well settled that such motions are

not favored and should be granted sparingly, with great caution and only in

exceptional circumstances. See, e.g., United States ex rel. Darcy v. Handy, 351 U.S.

454 (1956). The court should be mindful that the power bestowed by Rule 33 to

grant a new trial should only be done in the “most ‘extreme cases.’” United States v.

Linwood, 142 F.3d 418, 422 (7th Cir. 1998) (quoting United States v. Morales, 902

F.2d 604, 605 (7th Cir. 1990)). To prevail on a motion for a new trial, a defendant

must demonstrate that substantial prejudice occurred during the trial, resulting in

a gross miscarriage of justice. The burden upon a defendant to establish the

existence of prejudicial error is a heavy one, not satisfied by unsupported conclusory

allegations or speculation. Darcy, 351 U.S. at 462.




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      The Seventh Circuit has interpreted the “interest of justice” standard to

require a new trial only in situations in which “the substantial rights of the

defendant have been jeopardized by errors or omissions during trial.” United States

v. Kuzniar, 881 F.2d 466, 470 (7th Cir. 1989). Further:

      The court may not re-weigh the evidence and set aside the verdict simply
      because it feels some other result would be more reasonable . . . The
      evidence must preponderate heavily against the verdict, such that it
      would be a miscarriage of justice to let the verdict stand . . . .

Reed, 875 F.2d at 113. None of defendant’s claims meets this legal standard.

      a. The Court’s Did Not Err In Excluding the Testimony of John
         Farrell

       With no supporting legal authority, defendant argues that he was denied a

fair trial because the Court excluded Mr. Farrell’s testimony.      As best can be

discerned, defendant takes issue with the bases of the Court’s rulings, the

timeliness of those rulings, and the Court’s separate rulings regarding some of the

government’s fact witnesses. None of these arguments have any merit and the

motion should be denied.

      On October 15, 2015, the Court granted the government’s motion to exclude

the testimony of John Farrell on multiple grounds. (Doc. #75) The government had

moved to bar the testimony of Mr. Farrell on several grounds in both its Daubert

motion and subsequent motions in limine. (Doc. #53, 61) In its order, this Court

barred the testimony of Mr. Farrell pursuant to Rules 702, 704(b) and 403.

      Defendant’s motion should be denied because the Court properly exercised its

gatekeeping obligations pursuant to Daubert.          In Daubert v. Merrell Dow



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Pharmaceuticals, Inc., 509 U.S. 576 (1993), the Supreme Court held that scientific

expert testimony is admissible only if it is both relevant and reliable, and held that

the Federal Rules of Evidence “assign to the trial judge the task of ensuring that an

expert’s testimony both rests on a reliable foundation and is relevant to the task at

hand.” Id. at 597. “Daubert’s general holding—setting forth the trial judge’s general

‘gatekeeping’ obligation—applies not only to testimony based on ‘scientific’

knowledge, but also to testimony based on ‘technical’ or ‘other specialized’

knowledge.” Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 141 (1999). Rule

702 “requires a valid connection to the pertinent inquiry as a precondition to

admissibility,” and “where such testimony’s factual basis, data, principles, methods,

or their application are called sufficiently into question, the trial court must

determine whether the testimony has a reliable basis in the knowledge and

experience of [the relevant] discipline.” Daubert, 509 U.S. at 592. If the proffered

testimony fails the general test of relevance under Rule 402, meaning that it does

not assist the trier of fact in understanding a fact in issue, then the district court

should reject the proffer. United States v. Hall, 93 F.3d 1337, 1342 (7th Cir. 1996).

      An expert’s testimony must also be based on the expert’s special skills.

“Unless the expertise adds something, the expert at best is offering a gratuitous

opinion, and at worst is exerting undue influence on the jury that would be subject

to control under Fed. R. Evid. 403.” Hall, 93 F.3d at 1343; see United States v.

Lundy, 809 F.2d 392, 396 (7th Cir. 1987) (“District courts must ensure that expert

opinion testimony is in fact expert opinion, not merely an opinion given by an



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expert.”); United States v. Mamah, 332 F.3d 475, 478 (7th Cir. 2003) (“Experts’

opinions are worthless without data and reasons” and “[t]he court is not obligated to

admit testimony just because it is given by an expert.”). “Courts agree that it is

improper to permit an expert to testify regarding facts that people of common

understanding can easily comprehend.” Lundy, 809 F.2d at 395.

      The Court correctly applied Federal Rules of Evidence 702 and 704(b) in

excluding Mr. Farrell’s expert testimony. As explained in the Court’s order, Mr.

Farrell’s proffered testimony was “essentially channeling the exculpatory testimony

of the Defendant” (Doc. #75 at 2), for the purpose of opining on defendant’s state of

mind at the time that he used force on Victim A, i.e. that defendant used force

because he believed Victim A posed a threat to him. (Id. at 2-3) This is plainly

prohibited under Rule 704(b). See United States v. Beavers, 756 F.3d 1044, 1054

(7th Cir. 2014); United States v. Reese, 666 F.3d 1007, 1019 (7th Cir. 2012).

Furthermore, Mr. Farrell’s opinion – that defendant did not use excessive force –

was unreliable in light of the fact that Mr. Farrell largely relied on defendant’s self-

serving statements, instead of any other statements by other witnesses present at

the scene, as the basis for his opinion. Mr. Farrell’s decision to cherry-pick the data

and information he relied upon discredited his own opinion and rendered it

unreliable. Expert witnesses, like Mr. Farrell, who cherry-pick data are unreliable

and do not “assist the trier of fact.” Fed. R. Evid. 702, see Barber v. United Airlines,

Inc., 17 F. App’x 433, 437 (7th Cir. 2001) (“Because in formulating his opinion [the

doctor] cherry-picked the facts he considered to render an expert opinion, the



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district court correctly barred his testimony because such a selective use of facts

fails to satisfy the scientific method and Daubert, and it thus fails to assist the trier

of fact.” (internal citation and quotation marks omitted)).

      Similarly, the Court properly excluded Mr. Farrell’s testimony pursuant to

Rule 403 and Thompson v. City of Chicago, 472 F.3d 444, 454 (7th Cir. 2006). (Doc.

75 at 3.) In Thompson, the Court held that “the jury, after having heard all of the

evidence presented, was in as good a position as the expert to judge whether the

force used by the officers . . . was objectively reasonable given the circumstances in

this case.” Id. For this reason, the Seventh Circuit affirmed the exclusion of two

experts on use of force pursuant to Rule 403, because the expert testimony “would

have induced the jurors to substitute their own independent conclusions for that of

the experts.” Id. In Thompson, the Seventh Circuit also held that CPD’s General

Orders regarding use of force “shed no light on what may or may not be considered

‘objectively unreasonable’ under the Fourth Amendment” and were inadmissible

pursuant to Rule 401. Id. at 453-55. This Court correctly excluded Mr. Farrell’s

testimony on the same grounds. (Doc. #75 at 3-4.)

      Defendant fails to present any law or facts that are inconsistent with the

Court’s application of Rules 702, 704(b) and 403; instead, defendant quibbles with

the timing and nature of the Court’s ruling on motions in limine. At the outset, it

should be noted that defendant never raised any issue regarding the timing of the

Court’s order until after the verdict was rendered in this case. At no time during

the pre-trial conference or during the trial itself, did defendant seek to continue the



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proceedings in light of this Court’s specific ruling. Moreover, the Court detailed its

reasoning and bases for excluding Mr. Farrell’s testimony, which are plainly

consistent with the law of this Circuit. Defendant also seems to argue that the

Court’s rulings somehow exceeded the scope of the motions filed by the government.

Not only is defendant’s argument inconsistent with the parties’ filings and the

Court’s order, but it is inapposite to the question of admissibility under the Rules of

Evidence, which bind the Court.

         Finally, defendant argues that the testimony of fact witnesses Andrea

Hyfantis and Yolanda Hatch, regarding the training curriculum in place at the CPD

Academy at the time of defendant’s training, somehow opened the door for Mr.

Farrell’s opinions. Defendant mischaracterizes the substance of these witnesses’

testimony in support of his argument. These witnesses did not testify regarding the

use of force manual or the standard for reasonableness under Fourth Amendment,

and did not offer any opinions regarding the reasonableness of defendant’s use of

force.    Instead, they each testified regarding specific types of training given to

recruits at the time that defendant attended the CPD Academy, regarding

documenting the use of force. This is in sharp contrast to Mr. Farrell’s proffered

testimony.

         b. The Court Did Not Err in Denying Defendant’s Motion for Bill of
            Particulars.

         To prevail on a motion for a new trial under Rule 33, a defendant must

demonstrate that substantial prejudice occurred during the trial, resulting in a

gross miscarriage of justice. The burden upon a defendant to establish the existence

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of prejudicial error is a heavy one, not satisfied by unsupported conclusory

allegations or speculation. Darcy, 351 U.S. at 462.

      In an unsupported and conclusory manner, defendant claims that he was

prejudiced during the trial – resulting in a gross miscarriage of justice – as a result

of this Court’s denial of the motion for a bill particulars. Once again, defendant

never raised this issue during the trial itself and was able to present his defense

against the charges in the indictment. Defendant appears to, essentially, ask this

Court to reconsider its prior ruling without providing any legal support or

identifying any specific prejudice at trial.

      Moreover, the Court’s ruling is consistent with the law. The Seventh Circuit

has made clear that a bill of particulars is unnecessary “if the information the

defendant seeks is readily available through alternate means such as discovery.”

United States v. Vaughn, 722 F.3d 918, 927-28 (7th Cir. 2013) (citing United States

v. Blanchard, 542 F.3d 1133, 1140 (7th Cir. 2008); United States v. Redd, 167

Fed.Appx. 565, 568 (7th Cir.2006)). Further, the law is well established that a bill

of particulars is unnecessary where the indictment sets forth the elements of the

charged offenses and provides sufficient notice of the charges to enable the

defendant to prepare his defense and to assert double jeopardy. Vaughn, 722 F.3d

at 927. Based on the discovery provided to defendant as well as the language of the

speaking indictment, defendant had ample notice of the charges as well as the

evidence against him. Accordingly, the motion should be denied.




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      c. Defendant Was Not Denied Access to Counsel by the Court.

      This Court did not deny defendant access to counsel during the trial.

Instead, the Court instructed defendant not to discuss his ongoing testimony and, in

the event that defendant misunderstood the Court’s admonishment, provided

additional time for defendant to confer with his lawyer. Contrary to defendant’s

argument, this is not structural error.

      In Perry v. Leeke, the Supreme Court ruled that a state trial court's order

forbidding the defendant from conferring with his lawyer at all during a 15 minute

afternoon recess between direct examination and cross examination did not violate

the defendant's Sixth Amendment right to assistance of counsel. Leeke, 488 U.S. at

283–84. The Court held that “when a defendant becomes a witness, he has no

constitutional right to consult with his lawyer while he is testifying.” Id. at 281–82.

The Court also noted that “the judge may permit consultation between counsel and

defendant during such a recess, but forbid discussion of ongoing testimony.” Id. at

284 n. 8.

      In this case, the Court appropriately followed the law as laid out by the

Supreme Court. The Court allowed contact between the defendant and his counsel,

but simply forbade discussion between lawyer and client about ongoing testimony.

During the evening recess on October 21, 2015, the Court contacted the parties and

informed defense counsel that they could speak with their client and advise him

that evening as well as the following morning. Doc # 87. The following morning,

the Court postponed defendant’s cross-examination and closing arguments for



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approximately 90 minutes to allow additional time for defense counsel and

defendant to confer. When the matter resumed later that morning, defense counsel

neither objected to the proceedings resuming nor asked for additional time to confer

before cross-examination began, which the Court previously indicated counsel could

ask for, if necessary.

      Defendant cites Washington v. Recuenco, 548 U.S. 212 (2006) in support of

his argument. Recuenco does not hold that denial of counsel in these circumstances

in structural error. Instead, in Recuenco, the Supreme Court stated:

      We have repeatedly recognized that the commission of a constitutional error
      at trial alone does not entitle a defendant to automatic reversal. Instead,
      “‘most constitutional errors can be harmless.’ ” Neder v. United States, 527
      U.S. 1, 8, 119 S.Ct. 1827, 144 L.Ed.2d 35 (1999) (quoting Arizona v.
      Fulminante, 499 U.S. 279, 306, 111 S.Ct. 1246, 113 L.Ed.2d 302 (1991)). “ ‘[I]f
      the defendant had counsel and was tried by an impartial adjudicator, there is
      a strong presumption that any other [constitutional] errors that may have
      occurred are subject to harmless-error analysis.’ ” 527 U.S., at 8, 119 S.Ct.
      1827 (quoting Rose v. Clark, 478 U.S. 570, 579, 106 S.Ct. 3101, 92 L.Ed.2d
      460 (1986)). Only in rare cases has this Court held that an error is structural,
      and thus requires automatic reversal. In such cases, the error “necessarily
      render[s] a criminal trial fundamentally unfair or an unreliable vehicle for
      determining guilt or innocence.” Neder, supra, at 9, 119 S.Ct. 1827 (emphasis
      deleted).

      More recently in United States v. Gaya, 647 F.3d 634 (7th Cir. 2011), the

Seventh Circuit discussed structural error in this very context, noting that“[t]he

analysis … focuses on the impact of the interruption on the ability of the

defendant’s lawyer to represent his client,” regardless of whether the interruption

had any likelihood of changing the outcome. Id. at 639. In Gaya, defendant claimed

on appeal that the district court improperly forbade counsel from discussing certain

matters during an overnight recess, including impeaching telephone records which

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were the subject of the impending cross-examination. The Court suggested that to

assess structural error, it would need to determine whether the discussions the

lawyer “might have had with his client during the overnight recess at which he

claims to have been enjoined to silence could have altered [defendant’s] responses

when cross-examination resumed the next day, or in other words whether the

answers he gave then might have been different had he discussed with his lawyer

the forthcoming cross-examination during the overnight recess.” Id. at 639-40.

      Here, the Court need not speculate as to whether defendant’s answers on

cross-examination would have been different: before the trial resumed for the day

on October 22, the Court delayed the proceedings, giving defendant and defense

counsel an uninterrupted opportunity to discuss matters in preparation for cross-

examination. When the trial was set to resume, defense counsel did not request

additional time, which the Court stated he could do if needed. Under similar facts

in Gaya, the Court concluded that there was no reversible error when counsel

“evinced no desire for any additional time for conferring with his client before the

trial resumed.” Id. at 641 (after district court barred impeachment with the phone

records on cross-examination, fact that defense counsel agreed that cross-

examination could proceed meant that there was no reversible error). In light of

this analysis, there was no error.




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         d. There is No Cumulative Error

         As set forth above, defendant has failed to meet his burden under Rules 29

and 33 and the Court did not commit any error as argued by defendant. In the

alternative, even assuming defendant is correct that the Court erred during trial,

any evidentiary error standing alone or taken together was harmless. Over the

course of the trial, the jury heard substantial evidence to support the government’s

theory of prosecution. See United States v. Cueto, 151 F.3d 620, 637-38 (7th Cir.

1998). Defendant, therefore, is not entitled to a new trial under Federal Rule of

Criminal Procedure 33.

   IV.      Conclusion

         For these reasons, defendant’s post-trial motions should be denied.

                                         Respectfully submitted,

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